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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §   CASE NO. 1:12-CR-87(4)
                                                 §
 MAXIMINO L. GARCIA                              §

      MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

          The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for

 the administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his

 findings of fact and recommendation on the defendant’s guilty plea (#103). The magistrate judge

 recommended that the Court accept defendant’s guilty plea and the plea agreement. He further

 recommended that the Court finally adjudge the defendant as guilty on Count Two of the

 Indictment.

          The parties have not objected to the magistrate judge’s findings. The Court accepts the

 findings in the report and recommendation. The Court ORDERS that Judge Giblin’s report (#103)

 is adopted. The Court further ORDERS that the defendant’s guilty plea and the plea agreement

 are accepted at this time. It is finally ORDERED that defendant, Maximino L. Garcia, is

 adjudged guilty on Count Two of the Indictment charging violations of Title 18, United States
          .
 Code, Section 1956(h).
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
            SIGNED at Beaumont, Texas, this 9th day of January, 2014.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
